             Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 1 of 35




 1   DARRELL L. COCHRAN
     (darrell@pcvalaw.com)
 2   KEVIN M. HASTINGS
     (kevin@pcvalaw.com)
 3
     Pfau Cochran Vertetis Amala PLLC
 4   911 Pacific Ave., Ste. 200
     Tacoma, WA 98402
 5   Tel: (253) 777-0799

 6   Attorneys for Plaintiffs
 7

 8

 9

10
                                 UNITED STATES DISTRICT COURT
11                              WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
12
      W.H., as guardian for her minor daughter,
13    P.H.; W.H., individually; J.H., individually;
      B.M., as guardian for her minor daughter,
14    S.A.; and B.M., individually,
15                                                       NO. 3:16-cv-5273
                                     Plaintiffs,
16           vs.                                         FIRST AMENDED COMPLAINT FOR
                                                         DAMAGES
17    OLYMPIA SCHOOL DISTRICT, a public
      corporation; FREDERICK DAVID                       Demand for Jury Trial
18    STANLEY, individually; BARBARA
      GREER, individually,
19
                                   Defendants.
20

21
             COMES NOW Plaintiffs, by and through their attorneys Darrell L. Cochran and Kevin
22
     M. Hastings, and the law firm of Pfau Cochran Vertetis Amala PLLC, to bring a cause of action
23
     against the defendants, and allege the following:
24

25

26



      FIRST AMENDED COMPLAINT FOR DAMAGES                                   A Professional Limited Liability Company


      Page 1 of 35                                                   911 Pacific Avenue, Suite 200
                                                                          Tacoma, WA 98402
                                                                Phone: (253) 777-0799 Facsimile: (253) 627-0654
             Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 2 of 35




 1                                   I.      INTRODUCTION
 2           1.      In August of 2005, the Olympia School District (the “District”) hired a man
 3
     named Gary Shafer to be a new bus driver. He was 26 years old, unmarried, no children, and
 4
     no experience in bus driving, but he proclaimed his “love of children” as a sound basis for his
 5
     employment. The District Transportation Director at the time, Fred Stanley, conducted an
 6
     interview of less than thirty minutes, made no reference checks, made no checks with past
 7

 8   employers, made no initial criminal checks but hired him nonetheless.

 9           2.      The position of bus driver in the District calls for a bus driver to spend hours
10   alone with the school children, including many children who are a young as four and in their
11
     formative years of communicating thoughts and events. Shafer is now in prison for molesting
12
     school girls who were the youngest and most vulnerable at the District. Shafer has admitted to
13
     sexually molesting at least 30 District children and will neither “admit nor deny” his victim
14

15   count could be 75 children or more.

16           3.      Between 2005 and 2011, the District knowingly allowed its employee Gary

17   Shafer to climb aboard hundreds of midday bus routes for pre-kindergarten, kindergarten, ad
18
     special needs children in the district, and then “ride along” with girl passengers. As another
19
     district driver drove the school bus, Shafer was allowed to ride along on buses that transported
20
     the Districts most vulnerable students. The District has repeatedly confirmed that it never had
21
     a reason to distrust a bus driver’s motivation for devoting unusual attention to small girls on
22

23   buses and did not care why Shafer wanted to ride along with the girls on those buses.

24           4.      The District had no legitimate purpose for allowing Shafer to ride along and sit

25   with these vulnerable girls: They did not pay Shafer to carry out work assignments on the buses,
26
     they did not assign any tasks for which he could legitimately volunteered, they did not track the


      FIRST AMENDED COMPLAINT FOR DAMAGES                                    A Professional Limited Liability Company


      Page 2 of 35                                                    911 Pacific Avenue, Suite 200
                                                                           Tacoma, WA 98402
                                                                 Phone: (253) 777-0799 Facsimile: (253) 627-0654
             Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 3 of 35




 1   times, dates or buses in which he rode along, nor did they ever question Shafer or the drivers

 2   about what Shafer had been doing on the buses with these young girls. Shafer was an unmarried,
 3
     twenty-six year old man without children of his own who started spending all of his free time
 4
     riding along on school buses without pay so he could interact with four and five year old girls,
 5
     including special needs students with learning or speech delays.
 6
             5.      The District and its administrators were deliberately indifferent in their disregard
 7

 8   for what Shafer was doing with the girls on the buses. The District knowingly allowed Shafer

 9   unfettered access to identify helpless girls, then to groom and sexually molest kindergarten,
10   pre-kindergarten, and special needs children while they were riding to and from school on the
11
     midday bus. A number of bus drivers in the District knew Shafer was sitting with the young
12
     girls, giggling with the girls, tickling the girls, and violating long standing industry and common
13
     sense codes of conduct for bus drivers and small girls on buses.
14

15           6.      The District and its administrators decided against putting in place policies and

16   procedures to ensure that only those assigned to drive the bus were on the bus, which directly

17   caused an unreasonable danger of Shafer. Compounding the matter, the former Transportation
18   Director Fred Stanley and Former Transportation Training Coordinator Barbara Greer
19
     knowingly allowed Shafer to ride along on whatever bus he wanted, regardless of whether he
20
     had an educational purpose to be there. Stanley and Greer ignored challenges to whether Shafer
21
     should be riding along on the buses and also ignored concerns that Shafer had begun changing
22

23   his own bus routes at an alarming pace, alarming for the potential Shafer was changing routes

24   because of confrontation with students he had been grooming and molesting on his own

25   assigned routes.
26



      FIRST AMENDED COMPLAINT FOR DAMAGES                                      A Professional Limited Liability Company


      Page 3 of 35                                                      911 Pacific Avenue, Suite 200
                                                                             Tacoma, WA 98402
                                                                   Phone: (253) 777-0799 Facsimile: (253) 627-0654
             Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 4 of 35




 1           7.      The District’s acts and omissions demonstrate a deliberate indifference to the

 2   rights of the children riding on those school buses. At the time of Shafer’s employ, the District
 3
     knew based on longstanding literature that child molestation was a major threat to students. By
 4
     March 17, 2010, the District was even given a presentation by its risk management company,
 5
     Canfield, showing that bus drivers constituted 12 percent of the total number of sexual
 6
     assaulters within the school context – a shocking number given the relatively small number of
 7

 8   bus drivers compared to teachers and administrators.

 9           8.      The District and its administrators ignored the literature and statistics that
10   children, particularly on buses, were at risk of being sexually abused. The District and its
11
     administrators also ignored glaring red flags that Shafer was harming children, including, notice
12
     from a concerned parent that a bus being driven by Shafer was over 30 minutes late and his
13
     daughter came home refusing to ride the bus; notice from drivers that Shafer would pullover
14

15   his bus for no reason during the middle of routes; notice that he would sit on buses with children

16   in his lap; notice that he was constantly changing bus routes; and notice that he was watching

17   pornography in the breakroom. The District’s misconduct as alleged in this complaint was done
18   in deliberate indifference to the safety and well-being of children.
19
             9.      In December 2010, a kindergarten girl disclosed to her mother that “Gary,” the
20
     man who rode along with her regular driver, Mario Paz, sexually assaulted her. A police
21
     investigation confirmed that Gary was Olympia School District bus driver, Gary Shafer. The
22

23   police investigation lead to another victim and by January 19, 2011, Shafer had both confessed

24   to sexually assaulting young girls on buses and resigned from the District. Shafer was arrested

25   on two counts of child molestation on January 27, 2011. Gary Shafer decided that he wanted to
26
     seek a special first time offender sentence and submitted to a psychological evaluation in March


      FIRST AMENDED COMPLAINT FOR DAMAGES                                    A Professional Limited Liability Company


      Page 4 of 35                                                    911 Pacific Avenue, Suite 200
                                                                           Tacoma, WA 98402
                                                                 Phone: (253) 777-0799 Facsimile: (253) 627-0654
             Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 5 of 35




 1   2011. After failing multiple polygraph examinations, Shafer admitted during the course of his

 2   psychosexual evaluation that he had sexually molested dozens of young girls in the Olympia
 3
     School District while either riding along on or driving their buses. Shafer gave some
 4
     descriptions of girls and even some distinctive names.
 5
             10.     Thurston County Sheriff’s Detective Cheryl Stines met with Olympia School
 6
     District administrators, including Superintendent William Lahmann and Assistant
 7

 8   Superintendent Jennifer Priddy to advise the District about the confessions by Shafer and to

 9   provide specific information from the polygraph admissions. Detective Stines had already made
10   specific and separate arrangements to interview a young kindergarten girl from Garfield
11
     Elementary School and Superintendent Lahmann and Assistant Superintendent Priddy asked to
12
     speak with Detective Stines as a result.
13
             11.     Despite receiving information about the high number of young and vulnerable
14

15   school district girls molested by Shafer, Superintendent Lahmann and Assistant Superintendent

16   Priddy chose to do nothing to identify victims of Shafer’s abuse, nothing to search the

17   descriptors and unique names of district victims confessed by Shafer, nothing to provide
18   assistance to the sexually assaulted girls in their custody and control.
19
             12.     The District and its administrators created by its deliberate indifference to the
20
     safety and wellbeing of children, caused scores of children to suffer sexual abuse at the hands
21
     of Gary Shafer. This complaint seeks redress for one of those victims, D.H., and her parents
22

23   K.H and G.H.

24
                                          II.       PARTIES
25
             13.     Plaintiff P.H. Plaintiff P.H. is a minor sexual abuse victim. At all relevant times,
26
     P.H. was a resident of Thurston County, Washington.

      FIRST AMENDED COMPLAINT FOR DAMAGES                                      A Professional Limited Liability Company


      Page 5 of 35                                                      911 Pacific Avenue, Suite 200
                                                                             Tacoma, WA 98402
                                                                   Phone: (253) 777-0799 Facsimile: (253) 627-0654
             Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 6 of 35




 1           14.     Plaintiff W.H. W.H. is the legal guardian and mother of Plaintiff P.H. At all

 2   relevant times, W.H. was a resident of Thurston County, Washington.
 3
             15.     Plaintiff J.H. J.H. is the legal guardian and father of Plaintiff P.H. At all relevant
 4
     times, J.H. was a resident of Thurston County, Washington.
 5
             16.     Plaintiff S.A. Plaintiff S.A. is a minor sexual abuse victim. At all relevant times,
 6
     S.A. was a resident of Thurston County, Washington.
 7

 8           17.     Plaintiff B.M. B.M. is the legal guardian and mother of Plaintiff S.A. At all

 9   relevant times, B.M. was a resident of Thurston County, Washington.
10           18.     Defendant Olympia School District. Defendant Olympia School District (the
11
     “District”) is a public corporation organized under the laws of the State of Washington and is
12
     authorized to be sued in such corporate capacity for its acts and those of its agents and
13
     employees. The District has its primary place of business in Thurston County, Washington, and
14

15   is subject to the provisions of Title 28A of the Revised Code of Washington. At all times

16   material, the District operated, and otherwise exercised control over, the public schools within

17   the District, for the benefit of the school-aged children residing in Olympia School District. The
18   District is responsible for all conduct of its agents and employees with respect to the attendance
19
     of P.H. and A.S. at school in the District and as a bus passenger. At all relevant times, the
20
     District had supervision and control of P.H. and A.S. in loco parentis.
21
             19.     Frederick David Stanley. Defendant Fred Stanley was the District’s former
22

23   Transportation Director during all relevant times and is sued here in his individual and official

24   capacity. Defendant Stanley is being sued in his individual capacity for his actions under color

25   of state law.
26



      FIRST AMENDED COMPLAINT FOR DAMAGES                                       A Professional Limited Liability Company


      Page 6 of 35                                                       911 Pacific Avenue, Suite 200
                                                                              Tacoma, WA 98402
                                                                    Phone: (253) 777-0799 Facsimile: (253) 627-0654
             Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 7 of 35




 1           20.     Barbara Greer. Barbara Greer was the District’s former Training Director during
 2   all related times, a responsibility that included dispatching for special needs transportation
 3
     routes. Defendant Greer is being sued in her individual capacity for her actions under color of
 4
     state law.
 5

 6
                           III.      JURISDICTION AND VENUE
 7
             21.     Jurisdiction. Subject matter jurisdiction is predicated on federal question
 8
     jurisdiction (28 U.S.C. §1331 and § 1343) due to claims under 42 U.S.C. §1983, and
 9
     supplemental jurisdiction under 28 USC §1367.
10

11           22.     Venue. Venue is proper in this district under 28 U.S.C. § 1391(b), since all

12   defendants reside or resided in this district and the events giving rise to the claims occurred in

13   this district, in Thurston County.
14

15                                         IV.      FACTS

16           23.     Facts; Hiring of Shafer and Deliberate Indifference to Child Safety. In August-

17   September 2005, the District, through its agents Stanley and Greer, conducted a 30 minute
18   interview of Shafer and hired him later that day without checking references or past employers.
19
     Shafer’s past employers included a security company, where he was caught with pornography
20
     on his work computer, and the United States Marine Corps, where he was dishonorably
21
     discharged for lying. During his interview, he said that he would make a good bus driver
22

23   because he “love[s] [] children” and because he “like[s] being around kids.” His goal was to

24   “get to know the kids.” When asked whether he was prepared to accept the responsibility for

25   the lives of the students on the bus, he said, “yes, kind of scary.” The District and its agents,
26
     including Defendants Stanley and Greer, then allowed Shafer to drive school buses alone on


      FIRST AMENDED COMPLAINT FOR DAMAGES                                    A Professional Limited Liability Company


      Page 7 of 35                                                    911 Pacific Avenue, Suite 200
                                                                           Tacoma, WA 98402
                                                                 Phone: (253) 777-0799 Facsimile: (253) 627-0654
             Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 8 of 35




 1   several occasions before his background check was cleared, done with deliberate indifference

 2   to the safety and welfare of children and done in direct violation of Washington law.
 3
             24.     Facts; Danger Creation and the Deliberate Indifference of Transportation
 4
     Director Fred Stanley. Beginning right away, Shafer asked former Transportation Director Fred
 5
     Stanley whether he could volunteer to ride along with other drivers on their midday
 6
     kindergarten, pre-kindergarten, and special needs routes because he liked being around the kids
 7

 8   so much, especially the District’s most vulnerable. Stanley gave Shafer permission to ride

 9   along, and then by permission and acquiescing, gave Shafer complete authorization for his ride
10   alongs, later claiming that he never had reason to distrust Shafer’s motivations for wanting to
11
     ride along with the vulnerable children. Under Stanley’s blanket permission, Shafer was able
12
     to ride along on hundreds of school buses whenever and wherever he wanted. Stanley never
13
     assigned Shafer to these rides, never checked on what he was doing on these rides, never kept
14

15   track of how often or with whom he was riding, and never spoke to any driver about what Shafer

16   was doing during these ride alongs. Furthermore, Shafer was never paid for his hundreds of ride

17   alongs or for helping to manage the kindergarten, pre-kindergarten, and special needs
18   passengers; instead, the Stanley allowed Shafer to do it because he was deliberately indifferent
19
     to the danger he created in doing.
20
             25.     Facts; Danger Creation and the Deliberate Indifference of Transportation
21
     Director Fred Stanley and the District. Former Transportation Director Fred Stanley admitted
22

23   that Shafter was not supposed to be on buses without specific authorization from him and an

24   educational purpose, and yet he did not institute any controls, create any policies, or enforce

25   any existing rule to ensure that Shafer was not riding along on kindergarten, pre-kindergarten,
26



      FIRST AMENDED COMPLAINT FOR DAMAGES                                   A Professional Limited Liability Company


      Page 8 of 35                                                   911 Pacific Avenue, Suite 200
                                                                          Tacoma, WA 98402
                                                                Phone: (253) 777-0799 Facsimile: (253) 627-0654
             Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 9 of 35




 1   and special needs routes without authority and an educational purpose. As he has previously

 2   testified:
 3
             Q       Right. Did you express clearly, to all of the drivers in the Olympia School
 4                   District transportation department, that they should not allow a grown
                     man, whether he was an employee or not, get on the bus without express
 5
                     authorization and an educational purpose for being on the bus?
 6           A       I would say maybe no, because it was happening.
 7           Q       And in that way, your training, policies, and practices, failed to control
                     Gary Shafer, right?
 8
             A       Yeah. In looking back on it, probably, yes.
 9           Q       At the time you should have been looking at that, right?
10           A       Well, I had no reason to be looking at it.
11                                    *              *                 *
             Q       Did you create a policy, after Gary Shafer started riding around on buses,
12
                     to let drivers know that he had to have authorization and an educational
13                   purpose to be on their buses in the midday?
                                      *              *                 *
14
             A       No.
15
             26.     Facts; Danger Creation and the Deliberate Indifference of Transportation
16

17
     Director Fred Stanley and the District. In addition to never creating a policy, Fred Stanley did

18   not do anything to see what Gary Shafer was doing on the dozens of buses he was riding around

19   on. As he testified:
20
             Q       With respect to the ride-alongs that he was doing in each and every year,
21                   2005-2006 and every year leading up to his suspension in January of
                     2011, what did you do to check in to see what Gary Shafer was doing all
22                   those times that he was riding along on these midday kindergarten, pre-
23                   K, and special needs buses?
             A       Nothing.
24
                                      *              *                 *
25
             Q       For example, did you ask them whether he was sitting with kindergarten
26                   girls on the bus?
             A       No.

      FIRST AMENDED COMPLAINT FOR DAMAGES                                      A Professional Limited Liability Company


      Page 9 of 35                                                      911 Pacific Avenue, Suite 200
                                                                             Tacoma, WA 98402
                                                                   Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 10 of 35




 1           Q        Did you ask him whether he was sitting in the front right passenger’s seat
                      by himself?
 2
             A        No.
 3           Q        Did you ask them if he was tickling them on the seats?
 4           A        No.
 5           Q        Did you ask if he was sharing jokes on his phones with the kindergarten
                      girls?
 6
             A        No.
 7           Q        Did you ask him if he was really serving in a purpose in being on the bus
                      other than just to be there?
 8
             A        No.
 9
                                       *              *               *
10           Q        Because, ultimately, you didn’t care about the reason he was on the bus,
11                    right?
             A        No.
12
             27.      Facts; Deliberate Indifference of Transportation Director Fred Stanley. Stanley
13

14   has repeatedly testified that he had “no reason to be looking” at what Shafer was doing because

15   he “trusted” all of his drivers for having passed a background check. Stanley deliberately
16   ignored the potential danger presented by his driver’s conduct even though he knew that drivers
17
     had historically engaged in inappropriate behavior, including sexual harassment and physical
18
     abuse. Stanley’s practice in knowingly allowing Shafer to ride along on school buses for no
19
     reason and without an educational purpose was done in complete disregard for the known and
20

21   obvious consequence that Shafer would abuse children.

22           28.      Facts; Shafer’s Grooming Tactics to Identify Children Victims and the District’s

23   Danger Creation and Deliberate Indifference. In an effort to coordinate his access to young
24   girls, Shafer used several tactics. He would use the ride alongs to identify his targets among the
25
     kindergarten, pre-route or keep riding along with his victims on buses being driven by other
26
     drivers who would allow him as an unauthorized guest. Shafer frequently and often abruptly

      FIRST AMENDED COMPLAINT FOR DAMAGES                                     A Professional Limited Liability Company


      Page 10 of 35                                                    911 Pacific Avenue, Suite 200
                                                                            Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
               Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 11 of 35




 1   changed his driving assignments, either looking for victims or escaping potential problems he

 2   created by molesting children on his buses. In total, he switched routes a record 18 times over
 3
     five-and-one-half years, including one abrupt change asking for a route change and then
 4
     announcing he was leaving for a trucking job. Compared to other divers, who would change
 5
     routes at most a few times over decades, Shafer’s pattern of changing routes was an obvious red
 6
     flag. Shafer would sexually abuse girls, including P.H. and S.A., while riding along with another
 7

 8   driver without an official purpose, or he would sexually abuse them by pulling the bus over or

 9   arriving at stops early so that he would have down time with the girls. He took full advantage of
10   Defendant Stanley’s “open door” ride along policy that directly created the danger of allowing
11
     him to access the young girls on other drivers’ kindergarten, pre-kindergarten, and special needs
12
     routes.
13
               29.    Facts; Notice, Red Flags, and the District’s Danger Creation and Deliberate
14

15   Indifference. Shafer had been driving his assigned route when, in November 2006, he suddenly

16   put in for a route change and then announced that he would be leaving for a higher-paying job

17   as a long-haul trucker. He told many bus drivers that he was having financial problems and
18   needed more money. The reality was that he abruptly changed from a special needs bus route
19
     because over concerns over getting caught for sexual abuse. Even though he successfully
20
     completed the trucking program at the top of his class, Shafer left the trucking work
21
     immediately and returned to the bus barn to work part-time for the District. In Shafer’s own
22

23   words, “I was going to be doing long haul truck driving starting last winter but I decided not to

24   for various reasons even though it would have been a lot of money.”

25             30.    Facts; Notice, Red Flags, and the District’s Danger Creation and Deliberate
26
     Indifference. When confronted by a fellow bus driver about why he left his long haul trucking


      FIRST AMENDED COMPLAINT FOR DAMAGES                                    A Professional Limited Liability Company


      Page 11 of 35                                                   911 Pacific Avenue, Suite 200
                                                                           Tacoma, WA 98402
                                                                 Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 12 of 35




 1   job despite his money woes, Shafer told his co-workers that he returned as a part-time school

 2   bus driver because he missed contact with children. From this incident and others, Shafer’s
 3
     fellow bus drivers found him very strange and unusually interested in children. He was being
 4
     described as “odd” by at least one school counselor and was reportedly observed viewing child
 5
     pornography on a bus barn computer by a fellow driver. Shafer has also admitted and has been
 6
     seen by other bus drivers pulling his bus over to the side of the road or in parking lots for no
 7

 8   apparent reason. At least one driver raised concerns with the administrative office about Shafer

 9   being parked for no apparent reason during a route. Even Fred Stanley himself has admitted
10   that he confronted Shafer about pulling over his buses for no reason.
11
             31.      Facts; Notice, Red Flags, and the District’s Danger Creation and Deliberate
12
     Indifference. In 2008, it is understood that a kindergarten boy went home one day after school
13
     and told his mother that the school bus driver was making farting noises, tickling he and another
14

15   student, and otherwise horsing around with them while on the bus. The boy told his mother

16   that the driver pulled over the school bus to engage in these activities and that they were the

17   last two on the bus. The mother was concerned about the bus driver’s behavior and conduct.
18   A short while later, the boy said that the same bus driver again pulled stopped the bus and was
19
     horsing around with he and another kindergarten aged boy. At this point, it is understood that
20
     the concerned mother called the District Transportation Department and told them about the
21
     bus driver’s inappropriate behavior while driving her son to and from school. The bus driver
22

23   was Gay Shafer. The District and its agents did nothing.

24           32.      Facts; Notice, Red Flags, and the District’s Danger Creation and Deliberate

25   Indifference. In the fall of 2009, McLane Elementary School bus driver Karen Nelson became
26
     ill and the District used sub drivers to cover the route. Shafer began targeting kindergarten girls


      FIRST AMENDED COMPLAINT FOR DAMAGES                                     A Professional Limited Liability Company


      Page 12 of 35                                                    911 Pacific Avenue, Suite 200
                                                                            Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 13 of 35




 1   for abuse on the route by riding along with various sub drivers. He also drove the bus as a

 2   substitute bus driver. On one occasion that he was driving, Shafer dropped off a young girl who
 3
     as so shaken by the experience that she told her dad, Kevin Gearheart, that she never wanted to
 4
     ride the bus again.
 5
             33.      Facts; Notice, Red Flags, and the District’s Danger Creation and Deliberate
 6
     Indifference. Mr. Gearheart called the District Transportation Department about concerns that
 7

 8   a male substitute driver was dropping his kindergarten daughter off alone, a half-hour late, and

 9   so traumatized that she refused to ride the bus any longer. Despite the father’s deep concerns
10   and repeated calls, the District downplayed any potential for wrongdoing and performed no
11
     investigation; it simply reiterated that all bus drivers receive background checks, and therefore,
12
     there was no need to do anything further. Tragically, after Shafer’s molestation surfaced in
13
     2011, Mr. Gearheart immediately recognized Shafer’s face as the driver who had left his
14

15   daughter traumatized from the bus. He confronted the District about Shafer’s presence on the

16   bus, but the District lied and said that Shafer never drove that bus.

17           34.      Facts; Red Flags and the District’s Danger Creation and Deliberate Indifference.
18   District employees discussed these “red flags” but nothing was done to monitor or investigate
19
     Shafer. By ignoring evidence that Shafer was acting inappropriately, including actual reports
20
     that Shafer was inappropriately touching and otherwise engaging in peer-to-peer activities with
21
     children on the school bus, commonly known as sexual grooming, as well as ignoring evidence
22

23   of Shafer’s obsessive fixation on routes for kindergarten, pre-kindergarten, and special needs

24   children, the District acted with deliberate indifference toward the safety of children in its

25   custody and control, including Plaintiffs P.H. and S.A., and interfered with their education.
26



      FIRST AMENDED COMPLAINT FOR DAMAGES                                     A Professional Limited Liability Company


      Page 13 of 35                                                    911 Pacific Avenue, Suite 200
                                                                            Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 14 of 35




 1           35.      Facts; Sexual Abuse of N.L. In late December 2010, the Thurston County

 2   Sheriff’s Department received a report that Olympia School District bus driver Gary D. Shafer
 3
     sexually assaulted a kindergarten girl named N.L. on a bus driven by fellow bus driver Mario
 4
     Paz. Shafer was riding along with Paz to “learn the route” and had the kindergarten girl in his
 5
     lap while seated behind the driver. Shafer sexually abused N.L. while she was in his lap, and
 6
     N.L. disclosed the abuse to her mother, who in turn contacted the District.
 7

 8           36.      Facts; Shafer’s Admitted to Molesting Scores of Children at the District. In or

 9   around March 21, 2011, Shafer was hoping to obtain a reduced criminal sentence through
10   Washington’s Sex Offender Special Sentencing Alternative (“SOSSA”). As required by
11
     SOSSA, Shafer had to submit to a psychosexual evaluation, where he needed to admit to his
12
     past sexual deviancies and then take a polygraph. During this evaluation, he admitted to
13
     sexually abusing literally dozens of little girls while they were riding to and from school on the
14

15   bus; Shafer identified some of his minor victims by their full name, some by a physical

16   description, and some by their first name; Shafer admitted to targeting kindergarten, pre-

17   kindergarten, and special needs bus routes since the start of his employment with the District;
18   Shafer admitted to regularly spending unpaid free time riding along on others’ buses to groom
19
     and assault children and no one from the District ever confronted him or prevented him from
20
     accessing children in this fashion; Shafer admitted to pulling his own buses to the side of the
21
     road to molest young girls on his bus; Shafer admitted to detaining young girls in his bus after
22

23   arriving to destinations early; Shafer admitted to accessing pornography on the District bus

24   barn’s computers on a regular basis without the District ever tracking, logging, or confronting

25   him about it; Shafer admitted to masturbating in the bus barn and on the busses; and finally,
26



      FIRST AMENDED COMPLAINT FOR DAMAGES                                    A Professional Limited Liability Company


      Page 14 of 35                                                   911 Pacific Avenue, Suite 200
                                                                           Tacoma, WA 98402
                                                                 Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 15 of 35




 1   Shafer admitted to photographing, videotaping, and sexually assaulting up to 30 young District

 2   students while working in his capacity as an Olympia School District bus driver.
 3
             37.      Facts; Shafer Admitted to Abusing P.H. and S.A. During His Psychosexual
 4
     Examination. Shafer also admitted to his psychosexual evaluator, Sue Batson, that he sexually
 5
     molested a girl with the first name of [P.]. Shafer also admitted that he sexually molested a girl
 6
     with the first name of [S.] when he was 27 years old. He further identified [S.] as a girl who
 7

 8   was 5-6 years old.

 9           38.      Facts; Jennifer Priddy Has Had the Batson Psychosexual Report Since 2011. The
10   District’s Assistant Superintendent of Fiscal Operations, Jennifer Priddy, who is named
11
     individually as a defendant in this lawsuit, is also a board member at large for the District’s
12
     insurance risk pool, known as SIAW. Since the beginning of the discovery of Shafer’s abuse,
13
     Priddy has been intimately involved with the civil litigation arising out of the District’s failure
14

15   to protect its students from Shafer’s abuse. She has regularly communicated with the District’s

16   attorneys over the past several years with regard to the civil litigation, even attending the first

17   trial in this sex abuse civil litigation series known as Gutierrez v. Olympia Sch. Dist., a case
18   that was filed in Thurston County on behalf of N.L.
19
             39.      Facts; Defendants Acted With Deliberate Indifference to the Rights of P.H. and
20
     S.A. and Made No Effort Notify Their Parents of the Abuse. As early as March 21, 2011,
21
     Plaintiffs P.H. and S.A. were identified by their first names as being victims of Shafer’s abuse
22

23   in his psychosexual report. Not only are their first names sufficiently unique so as to rule out

24   many other students, the same March 21 report provided other critical facts—such as ages and

25   other dates—that was enough for Priddy and others, including Lahmann and Cvitanich, to
26
     identify P.H. and S.A. Despite having access to the information sufficient to identify P.H. and


      FIRST AMENDED COMPLAINT FOR DAMAGES                                     A Professional Limited Liability Company


      Page 15 of 35                                                    911 Pacific Avenue, Suite 200
                                                                            Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 16 of 35




 1   S.A. as victims of Shafer’s molestation, Priddy and the District, including Lahmann and

 2   Cvitanich, failed to timely and adequately disclose the information to their parents, W.H. and
 3
     B.M., respectively, done in deliberate indifference to their rights. Defendants’ clear motive was
 4
     to shield SIAW from additional sexual abuse insurance claims; in doing so, Priddy, Lahmann,
 5
     and Cvitanich knowingly took steps to obstruct, obscure, delay, and even withhold information
 6
     from the parents of known sexual abuse victims, including the Plaintiffs here. Not only was
 7

 8   this failure to report done in violation of the U.S. Constitution and Washington law, the result

 9   was also to unreasonably interfere with Plaintiff P.H. and S.A.’s educational opportunities, as
10   these children were forced to continue suffering from the effects of childhood sexual abuse,
11
     without treatment, while trying to attend a school where the administrators did nothing to help
12
     them to avoid financial exposure.
13
             40.      Facts; Priddy Admitted to Making No Effort to Identify Sex Abuse Victims that
14

15   Shafer Identified In March 2011. On April 17, 2012, Priddy gave sworn deposition testimony

16   where she admitted to making no effort to identify other Shafer victims for up to at least a year

17   after he identified them in the psychosexual report:
18
             Q        [W]as there a point at which the district decided it would reach out to
19                    parents and let them know about the danger that Shafer presented?
20           A        We did not send a blanket e-mail or letter to parents, so I think in the way
                      that you’re phrasing your question, I would say no.
21
             Q        How about in a more directed fashion? Was there any parent that the
22                    district notified about the danger Shafer presented to their child?
             A        No. The investigation was still ongoing.
23
             Q        I’m talking about afterwards.
24
             A        Is the investigation complete? I –
25           Q        He’s in the can for 15 years, so I’d like to think most people consider it
26                    closed.



      FIRST AMENDED COMPLAINT FOR DAMAGES                                      A Professional Limited Liability Company


      Page 16 of 35                                                     911 Pacific Avenue, Suite 200
                                                                             Tacoma, WA 98402
                                                                   Phone: (253) 777-0799 Facsimile: (253) 627-0654
           Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 17 of 35




 1          A        [. . . ] We viewed it as the sheriff’s responsibility, and the sheriff – we
                     are going to assist the sheriff in any way we could.
 2
            Q        My question, though, is: Did the District take any steps to notify
 3                   parents about the danger that Shafer presented to their child?

 4          A        Okay. So we don’t know which parents we would contact. We have
                     not received a list of potential – you know, we do not have a – kind of a
 5                   list from the sheriff’s office of who we would contact.

 6          Q        What about children that would be on Shafer’s bus alone? Have you
                     notified parents that have children that were in that situation?
 7          A        No. I don’t think we know what parents to notify that were in buses alone
 8                   with Shafer on occasion?
            Q        What steps has the district taken to identify those parents who had kids
 9
                     that were in buses alone with Shafer on occasion?
10          A        We have not notified any parents that we – we have not notified any
                     parents.
11
            Q        My question is a little different.
12
            A        Okay.
13          Q        What steps did the district take to identify parents who had children that
                     might have been alone with Gary Shafer on the bus?
14
            A        I don’t believe that we have identified children that might have been
15                   alone on a bus with Gary Shafter.
16          Q        I’m trying to understand what steps the district has taken to try to
                     identify those parents whose children may have been alone on the bus
17                   with Shafer.
18                                    *                   *            *

19          A        I don’t think that we have been asked to identify, and so we have not,
                     and I don’t know how we would.
20          Q        [. . . ] My question is: What steps has the district taken to identify
21                   parents whose children might have been alone with Gary Shafer on the
                     bus.
22                                    *                   *            *
23          A        I think I’ve answered the question. We have not identified parents and
                     children who might have been alone with Gary Shafer. We do not know
24                   how we would identify that.
25          Q        I just gave a good example of how to do that, which is to look at the
                     routes. Has the district looked at the routes to try to understand whether
26                   Shafer had isolated particular vulnerable children?


     FIRST AMENDED COMPLAINT FOR DAMAGES                                      A Professional Limited Liability Company


     Page 17 of 35                                                     911 Pacific Avenue, Suite 200
                                                                            Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 18 of 35




 1                                     *               *                *

 2           A        We have answered questions about what routes he has driven. We have
                      not, to my knowledge, looked at routes and the timing of the route to
 3                    understand if a child could have been alone. There are so many factors
                      that would – that would make the information impossible to obtain.
 4
             Q        Is the insurance deductible part of what would be a factor prohibiting
 5                    you from being able to do that?

 6                                     *               *                *
             A        An insurance deductible does not enter into this at all.
 7
             Q        So then let’s explore the other reasons why the district hasn’t gone
 8                    about trying to identify students who might have been isolated by Gary
                      Shafer. [. . . ] Has the district taken steps to analyze the bus routes that
 9
                      Gary Shafer was selecting, to figure out what students may have been on
10                    those buses and were exposed to Shafer and the dangers that he
                      presented?
11                                     *               *                *
12           A        We do not – on bus routes, my understanding is, we do not have a full
                      listing of every child that is assigned to the route.
13
                                       *               *                *
14
             Q        The questions, though, that I’m asking right now, are directed at the
15                    district, which has the responsibility to protect children who attend
                      schools in the district and who were exposed to Gary Shafer. And my
16                    question to you is: Hast the district analyzed Gary Shafer’s bus routes to
                      figure out who might have been isolated by Gary Shafer?
17
             A        My understanding is that the bus route information is not complete,
18                    and, therefore, you could not identify who might have been isolated.
19           41.      Facts; Defendants Ignored Shafer’s Admissions and Made No Effort to Contact
20
     the Parents of P.H. and S.A. Even Though They Were Clearly Identified as Early as March
21
     2011. Contrary to this sworn testimony, Priddy and her chain of command, including Lahmann
22
     and Cvitanich, knew which children were on its school buses. They also knew from Gary
23
     Shafer’s admissions during his psychosexual examination that he identified P.H. and S.A. by
24

25   first name as well as by other circumstantial evidence, including their age. In a complete

26   disregard for the wellbeing of P.H. and S.A., Defendants refused to disclose and otherwise


      FIRST AMENDED COMPLAINT FOR DAMAGES                                      A Professional Limited Liability Company


      Page 18 of 35                                                     911 Pacific Avenue, Suite 200
                                                                             Tacoma, WA 98402
                                                                   Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 19 of 35




 1   withheld critical information to their parents. As both a SIAW board of director and the

 2   District’s liaison for the Gary Shafer sexual abuse litigation, Priddy had a known conflict of
 3
     interest and a motive to shield SIAW from further claims arising out of Shafer’s sexual abuse.
 4
             42.      Facts; Priddy was Referred to Law Enforcement for Her Failure to Report
 5
     Known Sexual Abuse. During the summer of 2013, Priddy was referred to the Office of
 6
     Superintendent of Public Instruction (“OSPI”) and to the Thurston County law enforcement for
 7

 8   her failure to report the known sexual abuse of P.H. and S.A. as required by Washington law.

 9   In response to this referral—over two years after the psychosexual report—Priddy finally
10   provided law enforcement with the names of other Shafer abuse victims, including P.H. and
11
     S.A. This was the first time Priddy ever took any affirmative steps to make the referrals of
12
     sexual abuse to law enforcement for these two minor Plaintiffs. A few months later, On October
13
     2, 2013, Priddy again gave deposition testimony, where she testified:
14

15           Q        Are you aware of any efforts by the district to identify girls who may
                      have been harmed by Gary Shafer outside of the three for whom there
16                    have been convictions?
17           A        Yes, I do.
18           Q        Tell us about that.
             A        So early on in the case, Sergeant Stine [sic] was – asked us about how to
19
                      identify, I think, two or three girls, and we helped her identify those girls,
20                    and she was investigating the case and the possibility of them having
                      been harmed. And then recently we have been working with another
21                    detective to identify two more girls.
22           Q        [S.A.] and [P.H.], no doubt; right?
             A        Yes.
23
             Q        And who is the detective you were working with?
24
             A        Detective Ivanovich.
25           Q        And have you identified [S.A.]?
26                                      *               *                *


      FIRST AMENDED COMPLAINT FOR DAMAGES                                        A Professional Limited Liability Company


      Page 19 of 35                                                       911 Pacific Avenue, Suite 200
                                                                               Tacoma, WA 98402
                                                                     Phone: (253) 777-0799 Facsimile: (253) 627-0654
           Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 20 of 35




 1          A        [S.A] went to Madison Elementary School, L.P. Brown Elementary
                     School, and Garfield Elementary School.
 2
                                      *              *                *
 3                   And so I called him to let [Detective Ivanovich] know that there were
 4                   possible additional victims that hadn’t been identified. And so I gave him
                     Gary Shafer’s July deposition and then began searching our student
 5                   records.

 6          Q        Did you know, from our deposition back last April, these are the same
                     girls that I was talking with you about then? Why didn’t you take some
 7                   steps prior to this summer to reach out and identify girls and notify the
                     two girls, [P.H.] and [S.A.].
 8
            A        Well, this information [Shafer’s deposition] was more specific on these
 9                   two girls, [P.H.] and [S.A.].

10          Q        Is the same information Gary Shafer provided in the Batson
                     [psychosexual] report – which you and the district had access to last year;
11                   right?

12          A        Which – yes. Well, I don’t know if it’s same or not. All I know is that in
                     this deposition I had enough to go on, rather than just names, and I don’t
13                   know if it was the same in Sue Baston’s [sic] report or not.

14          Q        It is [S.A.] and [P.H.]. So what information more from Gary Shafer’s
                     information did you get that prompted you to finally call the police?
15                                    *              *                *
16          A        Well, Sue – is it Baston or –
17          Q        Batson.
            A        Batson. Sergeant Stine was working with that report, and at the time we
18
                     were working with Sergeant Stine, so in this report, in this deposition, I
19                   started working with Ivanovich. And so I wasn’t kind of – Sergeant Stine
                     had completed her work, and we had responded to whatever questions
20                   that she gave us to help. When I sent this deposition to Detective
                     Ivanovich then he and I talked about some clues to use to search for
21                   [S.A.] and [P.H.].
22          Q        And what were the clues that were different from what you had with Sue
                     Batson’s report?
23
            A        Well, as I said, when Sue Batson’s report was fresh and Sergeant Stine
24                   was working with it, I was working at the request of Sergeant Stines, and
                     so I don’t – I didn’t – I don’t have Sue Batson’s report kind of committed
25
                     to memory. I can’t do a comparison of the details. All I know is that,
26                   when I had the [Shafer] deposition in July, I went to Detective Ivanovich.



     FIRST AMENDED COMPLAINT FOR DAMAGES                                      A Professional Limited Liability Company


     Page 20 of 35                                                     911 Pacific Avenue, Suite 200
                                                                            Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
           Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 21 of 35




 1          Q        When I asked you basically the same questions in April of 2012, it was
                     almost a year after Sergeant Stines had concluded her work and her
 2                   investigation to Gary Shafer.
 3          A        Mm-hm.

 4          Q        And so I provided you with [S.A.] and [P.H.]’s name then and asked the
                     question, “Aren’t you concerned about the welfare of these children?”
 5                   So tell me what happened between April of 2012 and this summer [of
                     2013] when you finally picked up the phone to talk to Detective
 6                   Ivanovich in terms of efforts by you and/or the district to reach out to the
                     girls who’d been molested by Gary Shafer or may have been molested
 7
                     by Gary Shafer. So in other words, between April of 2012, when I was
 8                   asking you these questions –
            A        Right.
 9
            Q        — under oath and this summer, when you finally reached out to
10                   Detective Ivanovich, what efforts had anyone made by the District to
                     identify [S.A.], [P.H.], or any of the other girls who either were or may
11
                     have been molested by Gary Shafer?
12          A        In—I believe in 2011 and 2012, we were working with Sergeant Stine,
                     and Sergeant Stine was directing us who to look for and what to look for
13
                     and what information she had.
14          Q        I’m talking about April of 2012, which is a year after Sergeant Stines
                     was done.
15
            A        Okay. I – [. . .] I think that – I can’t remember what you asked me in
16                   2012. I am unclear some of those timelines, so I’ll answer what I’ve done
                     now, and that is, give Detective Ivanovich the deposition and comb
17
                     through that deposition with Detective Ivanovich to identify what clues
18                   there were for us to work on. I cannot remember the time frame, but I
                     can tell you we were working at Sergeant Stines’ direction in the past.
19
            Q        Right. And when I deposed you last April, I pointed out that Sergeant
20                   Stines had been done with her investigation for a year. And so I’m really
                     curious about whether you and the district did anything between April of
21                   2012 and, say, June of 2013 to locate and assist girls who may have been
                     molested by Shafer.
22
            A        I can’t recall the time frames, so not going to be able to answer further.
23
            Q        And the truth is that you only called Detective Ivanovich because I put
24                   the district between a rock and a hard place by sending the letter
                     identifying the information and pointing out that the school district had
25                   done nothing to help find these people; right?
26          A        I disagree.
                                      *               *               *

     FIRST AMENDED COMPLAINT FOR DAMAGES                                      A Professional Limited Liability Company


     Page 21 of 35                                                     911 Pacific Avenue, Suite 200
                                                                            Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 22 of 35




 1           A        I disagree.

 2           Q        Well, that information were you able to give Detective Ivanovich that
                      helped either identify or initiate the investigation into the abuse of
 3                    [S.A.]?

 4           A        We were able to give him [S.A.’s] name.
                                      *              *               *
 5
             Q        Have you spoken with [S.A.’s] parents?
 6
             A        No.
 7           Q        Has anyone from the district contacted [S.A.’s] parents?
 8           A        No.

 9           43.      Facts; Danger Creation and the Deliberate Indifference Toward the Children on
10   School Buses. Despite clear evidence of Shafer’s widespread sexual abuse on school buses, the
11
     District has continuously denied any responsibility, asserting that it had no reason to distrust
12
     any of its bus drivers. The District’s former Transportation Director, Fred Stanley, recently
13
     claimed that “[t]here’s no reason for a bus driver not to sit with children. . . . We hire good
14

15   people and everybody has been background checked and we have no reason not to trust our

16   employees.” This alarming attitude was the milieu that allowed Shafer unlimited access to

17   abuse scores of children on school buses. This attitude disregarded known red flags with
18
     Shafer, known literature on the risks that sexual molesters are among the ranks of bus drivers,
19
     and ultimately, the known or obvious consequence that Shafer would abuse children given the
20
     opportunities created. The resulting harm as complained of in this complaint was due for no
21
     other reason than the affirmative danger that Defendants created in this lawsuit by knowingly
22

23   allowing Shafer to have unlimited access to ride alongs and other opportunities to sexually

24   groom and molest children.
25           44.      Facts; Deliberate Indifference to the Welfare of Children. When the factual
26
     verifications of Shafer’s molestations began circulating, and people began to push for answers


      FIRST AMENDED COMPLAINT FOR DAMAGES                                    A Professional Limited Liability Company


      Page 22 of 35                                                   911 Pacific Avenue, Suite 200
                                                                           Tacoma, WA 98402
                                                                 Phone: (253) 777-0799 Facsimile: (253) 627-0654
             Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 23 of 35




 1   as to how it all happened Transportation Department Director Fred Stanley refused to entertain

 2   the possibility that Shafer would have molested the children and sent a chilling threat to the bus
 3
     drivers:
 4
             These rumors [about Shafer] are slanderous and the people spreading them could
 5           and I feel should be charged with a crime and prosecuted to the fullest extent of
             the law. If you are one of those spreading this information and I hear it, I will
 6           report it to the proper authorities and I want to encourage those that have told
 7
             me they are highly offended by this kind of behavior to do the same.

 8           45.      Facts; Danger Creation, Deliberate Indifference, and Giving Shafer

 9   Unrestricted Access to Molest Children. The District’s former Transportation Training

10   Coordinator, Barbara Greer, endorsed Stanley’s statements. She stated that the District has not
11
     adopted a policy regarding where male bus drivers riding along must sit alone because “we trust
12
     our drivers, and we trust their judgment.” Greer added, “[after the arrest hit the news] our role
13
     was to be supportive of . . . the drivers because we knew that the drivers were going to be very
14
     upset.” When asked whether common sense would have advised bus drivers to be mindful of
15

16   obvious signs of grooming and risky situations, Greer replied, “I don’t deal in common sense,

17   sir.”
18           46.      Facts; Danger Creation, Deliberate Indifference, and Giving Shafer
19
     Unrestricted Access to Molest Children. Former District Superintendent William Lahmann,
20
     the official ultimately responsible for the safety of the children at the time of the abuse, also
21
     admitted to blind and unsupported faith in the District’s entire group of bus drivers, even if at
22

23   the expense of children. When challenged whether bus driver Mario Paz acted appropriately in

24   a situation where multiple girls on his bus were sexually assaulted by his friend Shafer in the

25   seat immediately behind his, Lahmann responded, “I don’t know what he did or didn’t do, so
26



      FIRST AMENDED COMPLAINT FOR DAMAGES                                    A Professional Limited Liability Company


      Page 23 of 35                                                   911 Pacific Avenue, Suite 200
                                                                           Tacoma, WA 98402
                                                                 Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 24 of 35




 1   my belief is that he was acting responsibly. I haven’t heard otherwise. . . . I make the assumption

 2   that he acted properly.”
 3
             47.      Facts; Danger Creation and the Deliberate Indifference of Lahmann and
 4
     Defendant Greer. Former Superintendent Lahmann and former Transportation Coordinator
 5
     Greer were complicit in Stanley’s decision to allow Shafer unrestricted and unmonitored access
 6
     to ride alongs. Lahmann has previously provided sworn testimony that there was no reason not
 7

 8   to allow Shafer unrestricted an unmonitored access. Greer previously testified that there was no

 9   reason to distrust Shafer. Their complicity created a perilous situation for P.H. and S.A. and
10   was done in disregard to the known or obvious consequence that Shafer would sexually groom
11
     and molest them.
12
             48.      Facts; Creation of Danger, Deliberate Indifference, and Lack of Training. The
13
     District, Stanley, Greer, and Lahmann failed to properly train its employees on how to recognize
14

15   obvious signs that Shafer was using school buses to molest young vulnerable girls. In 2006, the

16   Washington Office of Superintendent of Public Instruction distributed a statewide publication

17   entitled “What every employee must be told in school districts,” a publication concerning the
18   warning signs of sexual grooming of children. District bus drivers did not receive training on
19
     this publication or the information contained within it.
20
             49.      Facts; Creation of Danger, Deliberate Indifference, and Lack of Training. Later,
21
     in the spring of 2010, the school year before Shafer was arrested for his molestations, the
22

23   District’s superintendent, Lahmann, and other District administrative-level personnel received

24   professional boundaries training. This training included a valuable PowerPoint presentation on

25   awareness of the dangers school personnel pose as potential child molesters, and included slides
26
     emphasizing that District employees had to “be on guard” regarding the behavior of their fellow


      FIRST AMENDED COMPLAINT FOR DAMAGES                                     A Professional Limited Liability Company


      Page 24 of 35                                                    911 Pacific Avenue, Suite 200
                                                                            Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 25 of 35




 1   District personnel, “even though they’re school employees who have gone through background

 2   checks.” In particular, one of the slides stated that 12 percent of all school-related molestation
 3
     charges each year involved school bus drivers, even though they comprised a relatively small
 4
     percentage of the total number of District employees. Another slide was entitled “Five-Step
 5
     process” and discussed sexual grooming behaviors of which District employees needed to be
 6
     aware. One of the steps consisted of identifying a vulnerable child and engaging that child in
 7

 8   peer-like involvement. Other steps identified by the slide were desensitizing the child to touch

 9   and isolating the child in out-of-sight spots.
10           50.      Facts; Creation of Danger, Deliberate Indifference, and Lack of Training. But in
11
     an act of deliberate indifference toward the safety of children on school buses, the District and
12
     its top administrators, including Lahmann, chose against providing the valuable boundary
13
     invasion training to District bus drivers. The District specifically chose not to train its
14

15   employees on the PowerPoint presentation or the information contained therein because it “felt

16   people would reject some of the negativity of the message.” Instead, the District developed a

17   one-page “pyramid” that lacked the specific and valuable information contained within the
18   PowerPoint presentation, such as the risk of child molestation posed by certain groups of school
19
     personnel, and its plan was to train the District’s Transportation Director, Fred Stanley, on
20
     boundary invasions so that he could then implement a training for the bus drivers. But in another
21
     act of deliberate indifference toward the safety of children on school buses, Stanley and his
22

23   assistant knowingly skipped the watered-down boundary invasion training, and it was never

24   brought to the transportation department. Compounding matters, Lahmann failed to follow-up

25   with the various departments to ensure that his trickle down plan was working, another act of
26
     deliberate indifference. The District failed to train its bus drivers on even this obtuse “pyramid”


      FIRST AMENDED COMPLAINT FOR DAMAGES                                     A Professional Limited Liability Company


      Page 25 of 35                                                    911 Pacific Avenue, Suite 200
                                                                            Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 26 of 35




 1   until after Shafer’s arrest. According to one veteran District bus driver, Dale Thompson,

 2   knowing that 12 percent of school personnel molesting children were bus drivers would have
 3
     been useful because he otherwise “couldn’t imagine” and would not suspect a fellow bus driver
 4
     of committing such an act.
 5
             51.      Facts; Creation of Danger, Deliberate Indifference, and Lack of Training.
 6
     Similarly, the District adopted a “professional boundaries” policy in spring of 2010 but failed
 7

 8   to advise bus drivers that any such policy existed. The policy’s stated purpose was to “provide

 9   all staff, students, volunteers and community members with information to increase their
10   awareness of their role in protecting children from inappropriate conduct by adults.” The policy
11
     defined “[i]nappropriate boundaries” as “acts, omissions or patterns of behavior by a school
12
     employee that do not have an educational purpose and result in abuse.” It also provided, “All
13
     employees and volunteers will receive training on appropriate staff/student boundaries.” But
14

15   like the earlier ignored training sessions on sexual molestation, District bus drivers never

16   received these policies or procedures or any training on them before Shafer was arrested for

17   sexual molestation.
18           52.      Facts; Creation of Danger, Deliberate Indifference, and Lack of Training. The
19
     District brushed aside the importance of training school employees on understanding that a
20
     molester’s best camouflage is a school district’s unwillingness to see him. This is particularly
21
     alarming in light of the research of leading commentators, who teach that accepting that
22

23   molesters may lurk in our midst is crucial to preventing child abuse:

24           Many educators do not believe that a colleague could sexually exploit a student.
             They believe that if such abuse happens, it happens in some other community
25           and it is so rare and idiosyncratic that it does not warrant attention. Many believe
             that educators already know they should not have sexual relationships with
26
             students. Consequently, some are insulted when they are required to attend


      FIRST AMENDED COMPLAINT FOR DAMAGES                                     A Professional Limited Liability Company


      Page 26 of 35                                                    911 Pacific Avenue, Suite 200
                                                                            Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
              Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 27 of 35




 1            training on this issue. Unfortunately, it is just such attitudes that have created the
              educational climate that allows sexual abuse to continue.
 2
     Shoop at 63. By failing to properly train employees, the District and the individually named
 3
     defendants herein who were responsible for training drivers created a climate that allowed
 4
     Shafer’s sexual abuse to continue.
 5

 6            53.     Facts; Creation of Danger, Deliberate Indifference, and Lack of Training. The

 7   District and its agents, including Defendants Stanley, Greer, and Lahmann acted with deliberate
 8   indifference toward the safety of its students, including P.H. and S.A., by failing to adequately
 9
     train, monitor, or supervise bus drivers by ensuring that they all understood how to spot the
10
     signs of grooming behaviors, professional boundary invasions, or other red flags of sexual
11
     abuse.
12

13            54.     Facts; Creation of Danger, Deliberate Indifference, and Lack of Training. The

14   District’s employees did not receive crucial training on how to spot molesters. District

15   administrators received “boundary invasion” training in the spring of 2010, which taught about
16
     the significant danger of school personnel molesting children and included statistics about the
17
     specific danger presented by bus drivers. Despite the considerable value in this training, as
18
     Lahmann acknowledged, District officials became deeply offended by the notion that District
19
     might include child predators. District officials thought that the presentation was “negative”
20

21   and refused to train District employees on the subject of boundary invasions. Defendant Fred

22   Stanley skipped the boundary training, and Lahmann did nothing to ensure that he was trained

23   or brought the valuable boundary invasion information to the Transportation Department.
24
              55.     Facts; Deliberate Indifference Toward the Welfare of Children. Despite clear
25
     evidence of significant sexual abuse by Shafer, the District has made little effort to locate and
26
     identify 30 or more other children who were sexually abused on its school buses. Plaintiffs

      FIRST AMENDED COMPLAINT FOR DAMAGES                                        A Professional Limited Liability Company


      Page 27 of 35                                                       911 Pacific Avenue, Suite 200
                                                                               Tacoma, WA 98402
                                                                     Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 28 of 35




 1   P.H. and S.A. were among those identified by Shafer as victims, and yet the District and its

 2   agents, including Priddy, Lahmann, and Cvitanich, never disclosed the critical facts to law
 3
     enforcement or the parents of these children who they knew were abuse victims.
 4
             56.      Facts; Danger Creation, Deliberate Indifference, and Lack of Policies and
 5
     Procedures. The District and its agents, including Defendants Stanley and Lahmann and
 6
     Cvitanish, acted with deliberate indifference toward the safety of its students, including P.H.
 7

 8   and S.A., by failing to promulgate, issue and enforce appropriate policies and procedures

 9   concerning ride alongs and reporting sexual abuse. Instead, as explained above, the defendants
10   here did nothing to ensure that Shafer was riding along on school buses for legitimate, approved
11
     school purposes; did nothing to track his ride along behaviors; and did nothing to otherwise
12
     prohibit his unbridled access to groom and sexually abuse the District’s most vulnerable
13
     population.
14

15           57.      Facts; Discrimination Toward Minor Plaintiffs. The minor Plaintiffs in this

16   lawsuit, S.A. and P.H., were young, kindergarten-aged schoolgirls who were targeted by Gary

17   Shafer based on their gender. S.A. and P.H. were treated differently by Defendants and Gary
18   Shafer than other children of different gender. Their status as a young, kindergarten-aged
19
     schoolgirl was a driving force of and substantial factor in the sexual abuse they endured.
20
             58.      Facts; Proximate Cause and Danger Creation. Defendants Stanley, Greer, and
21
     Lahmann acted with deliberate indifference to the frequency in which Shafer was riding along
22

23   on school buses without pay and without an official purpose, deliberate indifference to the risk

24   that pedophiles posed to children on school buses generally, deliberate indifference to the red

25   flags that Shafer was a threat to children, and deliberate indifference to ensuring that is bus
26
     drivers were properly trained on how to spot molesters. As a result of this widespread and


      FIRST AMENDED COMPLAINT FOR DAMAGES                                   A Professional Limited Liability Company


      Page 28 of 35                                                  911 Pacific Avenue, Suite 200
                                                                          Tacoma, WA 98402
                                                                Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 29 of 35




 1   alarming deliberate indifference, these individual defendants created the danger that pedophiles

 2   like Shafer would have unrestricted access to sexually abuse minors on school buses, which
 3
     here resulted in the sexual abuse of P.H. and S.A.
 4
             59.      Damages. As the proximate result of the deliberate indifference to the health and
 5
     safety of minor sexual abuse Plaintiffs P.H. and S.A., as set forth above, in violation of their
 6
     Ninth and Fourteenth Amendment rights and Washington law, Plaintiffs suffered from mental
 7

 8   anguish and severe emotional distress. Plaintiffs P.H. and S.A. also suffered damages from

 9   being denied the benefits of an education as provided by 20 .S.C. § 1681, et seq. The minor
10   sexual abuse victims’ parents also suffered damages to the parent-child relationship under
11
     Washington common law.
12
             60.      Punitive Damages. Defendants acted with callous indifference and with reckless
13
     disregard of Plaintiffs’ constitutional rights.
14

15
                                  V.        CAUSES OF ACTION
16
                                              COUNT I
17                                  VIOLATION OF CIVIL RIGHTS
                                    AS TO STANLEY AND GREER
18                                        (42 U.S.C. § 1983)
19
             61.      Civil Rights Violation. Based on the paragraphs set forth and alleged above,
20
     Defendants Stanley and Greer are liable for compensatory and punitive damages for their
21
     creation of an actual, particularized danger that Plaintiffs P.H. and S.A. would be sexually
22
     abused by Shafer, done in deliberate indifference toward the safety and wellbeing of P.H. and
23

24   S.A., including these defendants’ failure to protect the minor plaintiffs from sexual abuse and

25   exploitation by a serial pedophile while they were riding a school bus to and from school, all
26   done in violation of the due process and equal protection afforded under the Fourteenth


      FIRST AMENDED COMPLAINT FOR DAMAGES                                     A Professional Limited Liability Company


      Page 29 of 35                                                    911 Pacific Avenue, Suite 200
                                                                            Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 30 of 35




 1   Amendment as well as in violation of Title IX of the Education Amendments of 1972, 20 U.S.C.

 2   § 1681(a) (“Title IX”), brought pursuant to 42 USC § 1983..
 3
                                          COUNT II
 4                           VIOLATION OF CIVIL RIGHTS - MONELL
                                     AS TO THE DISTRICT
 5                                      (42 .S.C. § 1983)
 6           62.      Civil Rights Violation. Based on the paragraphs set forth and alleged above, the
 7
     District is liable for compensatory and punitive damages for its actions in failing to promulgate,
 8
     issue, and enforce appropriate procedures and policies concerning (1) the reporting of known
 9
     or suspected sexual abuse of P.H. and S.A., and (2) the safe transport of its students including
10
     P.H. and S.A., who both suffered sexual abuse and exploitation as a direct and proximate result
11

12   of the District’s failures and as a result of deliberate indifference to their wellbeing and safety,

13   as well as for its actions in failing to adequately train, monitor, or supervise its drivers to ensure
14   the safe transport of its students, including P.H. and S.A., all in violation of the Ninth and
15
     Fourteenth Amendments and 42 USC § 1983.
16
                                          COUNT III
17                                VIOLATION OF TITLE IX
                        AS TO DEFENDANT OLYMPIA SCHOOL DISTRICT
18
                                    (20 .S.C. § 1681, et seq.)
19
             63.      Title IX. Based on the paragraphs set forth and alleged above, the District is
20
     liable for compensatory and punitive damages for its actions in creating and/or subjugating
21
     Plaintiffs P.H. and S.A. to a hostile educational environment in violation of Title IX, when the
22

23   District and its officials had actual knowledge of the sexual assaults of P.H. and S.A. created

24   by its failure to supervise Gary Shafer and protect children, and when the District and its

25   officials failed to take immediate, effective remedial steps to resolve the sexual harassment and
26   instead acted with deliberate indifference toward Plaintiffs P.H. and S.A. and other similarly


      FIRST AMENDED COMPLAINT FOR DAMAGES                                       A Professional Limited Liability Company


      Page 30 of 35                                                      911 Pacific Avenue, Suite 200
                                                                              Tacoma, WA 98402
                                                                    Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 31 of 35




 1   situated students, the result of which was to exclude Plaintiffs from participation in, being

 2   denied the benefits of, and being subjected to discrimination in the District’s education program
 3
     in violation of Title IX.
 4
                                            COUNT IV
 5                                 COMMON LAW NEGLIGENCE
                                     AS TO ALL DEFENDANTS
 6                                   (Washington Common Law)
 7
             64.      Negligence. Based on the paragraphs set forth and alleged above, the District’s
 8
     conduct constituted all forms of common law negligence, or alternatively gross negligence,
 9
     including negligent training, retention, and supervision of Gary Shafer, and the District is liable
10
     for damages proximately caused by its negligent, or alternatively, gross negligent, acts and
11

12   omissions as provided in more detail above.

13                                      COUNT V
                      NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
14                               AS TO ALL DEFENDANTS
15                               (Washington Common Law)

16           65.      Negligent Infliction of Emotional Distress. Based on the paragraphs set forth

17   and alleged above, the District’s conduct constituted negligent infliction of emotional distress,
18   and the District is liable for damages proximately caused as a result.
19
                                             COUNT VI
20                                           OUTRAGE
                                      AS TO ALL DEFENDANTS
21                                    (Washington Common Law)
22           66.      Outrage. Based on the paragraphs set forth and alleged above, the District and
23
     its agents intentionally and/or recklessly caused severe emotional distress to Plaintiffs due to
24
     its extreme and outrageous conduct, as more fully described above, that went beyond all
25
     possible bounds of decency and can only be regarded as atrocious and utterly intolerable in a
26
     civilized community, constituting the tort of outrage for which the District is now liable.

      FIRST AMENDED COMPLAINT FOR DAMAGES                                     A Professional Limited Liability Company


      Page 31 of 35                                                    911 Pacific Avenue, Suite 200
                                                                            Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 32 of 35




 1                                            COUNT VII
                                        LOSS OF CONSORTIUM
 2                                     AS TO ALL DEFENDANTS
                                       (Washington Common Law)
 3

 4           67.      Loss of Consortium. Based on the paragraphs set forth and alleged above, the

 5   District’s tortious conduct caused Plaintiffs W.H., J.H., and B.M. to suffer damage to the

 6   relationships with their respective minor daughters, a recoverable damage under Washington
 7
     law.
 8
                                            COUNT VII
 9                                  SEXUAL DISCRIMINATION
                                      AS TO THE DISTRICT
10                             (Washington Law Against Discrimination)
11
             68.      Washington Law Against Discrimination. Based on the paragraphs set forth and
12
     alleged above, the minor Plaintiffs were members of a protected class whom were at all times
13
     relevant utilizing a place of public accommodation pursuant to RCW 49.60 et seq. when the
14
     District and/or its agents or employees committed acts that directly or indirectly resulted in
15

16   distinction, restriction, and/or discrimination of the minor Plaintiffs by treating them in a

17   manner different to the treatment provided to persons outside the minor Plaintiffs’ protected
18   class, including but not limited to sexual harassment and sexual abuse of the minor Plaintiffs,
19
     and the minor Plaintiffs’ protected status was a substantial factor that caused the distinctive,
20
     restrictive, and/or discriminatory treatment by the District and/or its agents or employees, all of
21
     which was contrary to the laws of Washington set forth under RCW 49.60 et seq., and all of
22

23
     which proximately caused the minor Plaintiffs to suffer damages.

24
                             VI.       RESERVATION OF RIGHTS
25
             69.      Reservation of Rights. Plaintiffs reserve the right to assert additional claims as
26
     may be appropriate following further investigation and discovery.

      FIRST AMENDED COMPLAINT FOR DAMAGES                                     A Professional Limited Liability Company


      Page 32 of 35                                                    911 Pacific Avenue, Suite 200
                                                                            Tacoma, WA 98402
                                                                  Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 33 of 35




 1                                    VII.      JURY DEMAND
 2           70.      Jury Demand. Under the Federal Rules of Civil Procedure, Plaintiffs demand
 3
     that this action be tried before a jury.
 4

 5                              VIII.        PRAYER FOR RELIEF
 6           71.      Relief. Plaintiff respectfully requests the following relief:
 7
                      A.     That the Court award Plaintiff appropriate relief, to include all special
 8
                             and general damages established at trial;
 9
                      B.     That the Court impose punitive damages under any provision of law
10
                             under which punitive damages may be imposed;
11
                      C.     That the Court award costs, reasonable attorneys’ fees, and statutory
12
                             interest under any applicable law or ground in equity, including 42
13
                             U.S.C. § 1988, RCW 49.60 et seq., and all other applicable bases for an
14
                             award of attorneys’ fees and litigation costs;
15
                      D.     That the Court award pre-judgment interest on items of special
16
                             damages;
17
                      E.     That the Court award post-judgment interest;
18                    F.     That the Court award Plaintiff such other, favorable relief as may be
19                           available and appropriate under law or at equity; and
20                    G.     That the Court enter such other and further relief as the Court may deem
21                           just and proper.
22           ///
23           ///
24           ///
25           ///
26           ///


      FIRST AMENDED COMPLAINT FOR DAMAGES                                       A Professional Limited Liability Company


      Page 33 of 35                                                      911 Pacific Avenue, Suite 200
                                                                              Tacoma, WA 98402
                                                                    Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 34 of 35




 1
                                        Respectfully submitted,
 2

 3   Dated: 4/17/2019

 4                                      By:     /s/ Darrell L. Cochran
                                              One of Plaintiffs’ Attorneys
 5

 6   DARRELL L. COCHRAN
     (darrell@pcvalaw.com)
 7   KEVIN M. HASTINGS
     (kevin@pcvalaw.com)
 8   Pfau Cochran Vertetis Amala PLLC
     911 Pacific Ave., Ste. 200
 9
     Tacoma, WA 98402
10   Tel: (253) 777-0799

11   818-9751-1983, v. 3
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      FIRST AMENDED COMPLAINT FOR DAMAGES                                 A Professional Limited Liability Company


      Page 34 of 35                                                911 Pacific Avenue, Suite 200
                                                                        Tacoma, WA 98402
                                                              Phone: (253) 777-0799 Facsimile: (253) 627-0654
            Case 3:16-cv-05273-BHS Document 75 Filed 04/17/19 Page 35 of 35




 1
                                   CERTIFICATE OF SERVICE
 2
             I, Laura Neal, hereby declare under penalty of perjury under the laws of the State of
 3
     Washington that I am employed at Pfau Cochran Vertetis Amala PLLC and that on today’s
 4
     date, I filed the foregoing with the Court via ECF, automatically serving the following
 5
     individuals:
 6
             Mr. Michael E. McFarland, Jr.
 7
             Evans, Craven & Lackie, P.S.
 8           818 W. Riverside, Suite 250
             Spokane, WA 99201-0910
 9           (509) 455-5200; fax (509) 455-3632
10           Jerry J. Moberg
             Jerry J. Moberg & Associates
11
             451 Diamond Drive
12           Ephrata, WA 98823

13           ( ) Via U.S. Mail
             ( ) Via Facsimile
14           (X) ECF
             ( ) Via Email
15
                            DATED this 17th day of April, 2019.
16

17
                                                        /s/ Laura Neal
18                                                      Laura Neal
                                                        Paralegal
19

20

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      FIRST AMENDED COMPLAINT FOR DAMAGES                                 A Professional Limited Liability Company


      Page 35 of 35                                                911 Pacific Avenue, Suite 200
                                                                        Tacoma, WA 98402
                                                              Phone: (253) 777-0799 Facsimile: (253) 627-0654
